Case 2:20-cv-00309-MCS-AFM Document 22 Filed 10/06/20 Page 1 of 2 Page ID #:153



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  15
  16                                       UNITED STATES DISTRICT COURT
  17                                  CENTRAL DISTRICT OF CALIFORNIA
  18 MATTHEW MARKANSON,                                  Case No. 2:20-cv-00309-JFW-AFM
  19                          Plaintiff,                 STIPULATION FOR DISMISSAL OF
                                                         ENTIRE ACTION WITH
  20              vs.                                    PREJUDICE AND ENTRY OF
                                                         JUDGMENT
  21 JASON BLAKE ROTRAMEL, an
     individual; BROKEN PROMISES CO.,
  22 LLC, a California limited liability
     company; ZUMIEZ INC., a Washington
  23 corporation; DOLLS KILL, INC, a
     Delaware corporation; and DOES 1
  24 through 10,
  25                          Defendants.
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       2118/027565-0015
                                                              STIPULATION FOR DISMISSAL AND
       15610675.2 a10/06/20                                   JUDGMENT
Case 2:20-cv-00309-MCS-AFM Document 22 Filed 10/06/20 Page 2 of 2 Page ID #:154



    1             All of the parties to this action, by and through their respective counsel of
    2 record, hereby stipulate to dismissal of this entire action with prejudice, and entry of
    3 judgment in the amount of twenty-one thousand dollars ($21,000.00) in favor of
    4 Defendant BROKEN PROMISES CO, LLC. and against Plaintiff MATTHEW
    5 MARKANSON. With the entry of said judgment, all parties shall otherwise bear
    6 their own costs and fees.
    7             IT IS SO STIPULATED.
    8             Pursuant to Local Rule 5-4.3.4, the filer attest on the signature page of this
    9 document that all other signatories listed, and on whose behalf the filing is
  10 submitted, concur in the filing’s content and have authorized the filing.
  11 Dated: October 6, 2020                           RUTAN & TUCKER, LLP
                                                      RONALD P. OINES
  12                                                  FRANCISCO NAVARRO
  13
                                                      By:        /s/ Ronald P. Oines
  14                                                        Ronald P. Oines
                                                            Attorneys for Defendants
  15                                                        JASON BLAKE ROTRAMEL,
                                                            BROKEN PROMISES CO., LLC,
  16                                                        ZUMIEZ INC., and DOLLS KILL,
                                                            INC.
  17
  18 Dated: October 6, 2020                           DONIGER / BURROUGHS
                                                      STEPHEN M. DONIGER
  19                                                  SCOTT A BURROUGHS
                                                      ELINA E. KHARIT
  20
  21                                                  By:        /s/ Stephen M Doniger
                                                            Stephen M. Doniger
  22                                                        Attorneys for Plaintiff
                                                            MATTHEW MARKANSON
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        2118/027565-0015
                                                               STIPULATION FOR DISMISSAL AND
        15610675.2 a10/06/20                          -1-      JUDGMENT
